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 1                                      INTRODUCTION
 2         1. This is a RICO and civil rights action brought under 42 U.S.C. §1962, 42
 3   U.S.C. §§1983 and 1985, and various related state laws by Plaintiffs against the City of
 4
     Maywood, the Maywood-Cudahy Police Department, and their employees individually
 5
     and in their official capacities, for injunctive relief and compensatory and punitive
 6
     damages because of a continuing systematic abuse of authority, including but not limited
 7
     to unlawful searches and seizures of person and property; wrongful detentions and
 8

 9   arrests, falseimprisonments, maliciousprosecutions, cover ups, false reportwriting, use

10   of excessive and unnecessary force, sexual assaults and other acts of lawlessness.
11   Plaintiff(s) first filed this action in Gonzalez v. City of Maywood, CV 07 3469 ODW
12   (Shx), on May 29, 2007; on January 28, 2008, the Court ordered the Plaintiffs’ actions
13   be severed and refiled as a separate case.
14
                                         JURISDICTION
15
           2. This case is brought pursuant to 18 U.S.C. § 1961 and 42 U.S.C. §§ 1983,
16
     1985 and 1986. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343 (1-4). This
17
     court also has supplemental jurisdiction over the state claims and over defendants
18

19   pursuant to 28 U.S.C. § 1367. Plaintiffs are victims of City of Maywood employees

20   acting under color of law and within the scope of their authority and pursuant to the
21   policies and practices of the entities.
22                                             VENUE
23         3. The claims alleged herein arose from events or omissions occurring in the
24
     County of Los Angeles. Therefore, venue lies in the Central District of California. 28
25
     U.S.C. 1391(b)(2).
26
                                          PLAINTIFFS
27
           4. Plaintiffs are residents of the County of Los Angeles, State of California. At
28

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 1   all times material to this complaint, Plaintiffs were private persons in the State of
 2   California, United States of America.
 3                                       DEFENDANTS
 4
           5. Plaintiffs are informed and believe and thereon allege that at all times herein
 5
     mentioned defendants City of Maywood, the Maywood-Cudahy Police Department, and
 6
     Does 1 through 5, were and are public entities duly organized and existing as such under
 7
     the laws of and within the State of California under the laws of the United States and the
 8

 9   laws of the State of California.

10         6. Plaintiffs are informed and believe and thereon allege that at all times herein
11   mentioned defendants Bruce Leflar, Paul Pine, and Does were and/or are police
12   supervisors and/or policymakers for the City ofMaywood, the Maywood-Cudahy Police
13   Department and Does 6 through 15, and in such capacity were/are managersand/or chief
14
     administrators and/or policy makers. The named entities, supervisors and Does are
15
     responsible for, among other things, the employment, discharge, training, supervision,
16
     control, assignment and discipline of all sworn and civilian personnel of their entities
17
     and the formulation,       promulgation, adoption, application, implementation,
18

19   administration, enforcement and revocation of the policies and practices of the named

20   entities and Does.
21         7. Plaintiffs are informed and believe and thereon allege that the actions of named
22   and Doe supervisors were committed while employed by the entities and represent the
23   customs, practices and policies of the entities.       The acts herein described and
24
     complained of were committed and done pursuant to policies, rules, regulations,
25
     practices, customs, and/or usages (hereinafter "policies and practices") of the entities
26
     and were created and enforced by the managers and/or supervisors and/or policy makers.
27
           8. Plaintiffs are informed and believe and thereon allege that the defendants
28

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 1   Cunningham, Serrata and Does are individual officers or agents of the City of Maywood
 2   and/or the Maywood-Cudahy Police Department and/or others at the times of the acts
 3   herein complained of.
 4
           9. The true names and capacities of defendants Does 1-30 are presently unknown
 5
     to plaintiffs; who therefore sue each of these defendants by such fictitious names; but
 6
     upon ascertaining the true identity and/or liability of a defendant Doe, Plaintiffs will
 7
     amend this Complaint or seek leave to do so by inserting the true name in lieu of the
 8

 9   fictitious name. Plaintiffs are informed and believe and thereon allege that each

10   defendant Doe herein is in some manner responsible for the injuries and damages herein
11   complained of.
12                                   INCORPORATION
13         10. The above paragraphs are hereby repeated, realleged and incorporated by this
14
     reference in each cause of action.
15
                   FACTS COMMON TO ALL CLAIMS FOR RELIEF
16
           11. On or about September 2, 2006, Cunningham, Serrata and other unknown
17
     officers wrongfully entered the home of Martha Hernandez, Krystal Hernandez, Jose
18

19   Quinones and Monique Paniagua, at 5113 East 60th Street, Maywood, California, and

20   wrongfully detained, arrested, assaulted, battered, threatened, searched, and prepared
21   false official reports for the purpose of covering up their wrongful actions and
22   maliciously prosecuting plaintiffs. During the incident, Cunningham, Serrata and other
23   unknown officers sexually molested and fondled 14-year-old Krystal Hernandez in
24
     front of her mother Martha Hernandez. The assaults on these plaintiffs included the
25
     drawing and pointing of firearms at them, painfully tight handcuffing, choking, and
26
     beating while on the ground. Ms. Paniagua was thrown into the back of the police car.
27
     Mr. Quinones was transported to the Maywood/Cudahy jail. While at the jail,
28

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 1   Cunningham choked Mr. Quinones and kicked his feet out from under him so that he
 2   fell against a metal bench in the holding cell, hitting his back on the bench and also
 3   hitting his head. While Mr. Quinones was on the ground, Cunningham choked him and
 4
     repeatedly kneed him in the genitals. Cunningham put his right shoe on Mr. Quinones'
 5
     right kneecap and twisted it, causing injury. Mr. Quinones had difficulty breathing and
 6
     paramedics were called. Cunningham interfered with Mr. Quinones' access to medical
 7
     treatment by refusing take Mr. Quinones directly to the hospital, interfering with his
 8

 9   medical treatment at the hospital, and threatening Mr. Quinones while he was at the

10   hospital. Mr. Quinones was denied adequate medical treatment as a result of
11   Cunningham's actions. No criminal charges were filed against Mr. Quinones as a result
12   of the September 2, 2006 incident. On February 13, 2007, Martha Hernandez spoke out
13   at a Maywood City Councilmeeting about Cunningham's sexual assault on her daughter
14
     and the September 2, 2006 incident. During her remarks she also stated that she saw
15
     Maywood City Councilman Sam Pena getting drunk with Maywood police officers at
16
     the Copacabana Restaurant in Maywood. Later that evening, Salgado and Pena came to
17
     her house. Salgado grabbed her and held her arms behind her back while telling her that
18

19   she was stupid for opening her mouth at the Maywood City Council meeting. Salgado

20   continued to hold her while Pena threatened her and told her that if she did not keep
21   quiet both she and her daughter would suffer the consequences. Plaintiffs are informed
22   and believe and thereon allege that defendants committed these wrongful acts because
23   they believed in the existence of and actively participated in the code of silence in the
24
     Maywood/Cudahy Police Department allowing them to engage in wrongful conduct and
25
     obstruct justice with impunity.
26
           12. Plaintiffs are informed and believe and thereon allege that defendants'
27
     wrongful conduct included but is not limited to fraud, fraud by wire, obstruction of
28

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 1   justice, kidnaping and bribery.
 2         13. Plaintiffs are informed and believe there are numerous other similar victims
 3   of defendants' wrongful acts who are afraid to seek, and/or unable to seek redress
 4
     because of their reasonable fears of retaliation, and/or because they are recent
 5
     immigrants who are reasonably concerned about the lawfulness of their status, and/or
 6
     because they are unable to find representation.
 7
           14. Plaintiffs complied with the provisions of the California Tort Claims Act.
 8

 9                             The Maywood Police Department

10         15.     Plaintiffs are informed and believe and thereon allege that the
11   Maywood-Cudahy Police Department has for years been a department composed of
12   persons not conforming their conduct to the requirements of the law, or to established
13   standards of proper police practices.
14
           16. Plaintiffs are informed and believe and thereon allege that the defendants,
15
     officers and supervisors within the Maywood-Cudahy Police Department, invidiously
16
     singled out, targeted and violated the rights of recent immigrants and/or persons
17
     defendants perceived to be recent immigrants because defendants knew that recent
18

19   immigrants were easy victims, afraid to exercise their rights, and readily subject to

20   retaliation if they attempted to exercise their rights.
21         17. Plaintiffs are informed and believe and thereon allege that the violations of
22   individuals' rights by Maywood-Cudahy officers occurred not because of a few "bad
23   apples" but is instead the result of a culture of lawlessness permeating the entities and
24
     constituting and/or proximately caused by their routine practices, including a code of
25
     silence and conspiracy to obstruct justice.
26
           18.     Plaintiffs are informed and believe and thereon allege that the
27
     Maywood-Cudahy police department regularly hires police officers who have been
28

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 1   pushed out of other law enforcement agencies for crimes or serious misconduct,
 2   including but not limited to: A former Los Angeles County sheriff's deputy terminated
 3   for abusing jail inmates; a onetime Los Angeles Police Department officer fired for
 4
     intimidating a witness; and an ex-Huntington Park officer charged with negligently
 5
     shooting a handgun and driving drunk.
 6
            19. Plaintiffs are informed and believe and thereon allege, based in part upon
 7
     allegations contained in a Superior Court complaint filed by Maywood-Cudahy Officer
 8

 9   Pablo Cunningham, one of the named defendants in this action (and in many other

10   federal civil rights actions, as alleged below), that supervisors required officers to
11   "engage in racial profiling and quotas," and that Cunningham was "threatened by [
12   Police Chief Bruce] Leflar with loss of his job after he refused to engage in racial
13   profiling." Plaintiffs are informed and believe that Cunningham was fired by the
14
     Maywood-Cudahy Police Department and then rehired because he threatened to expose
15
     improprieties within the department.
16
            20. Plaintiffs are informed and believe and thereon allege, as pleaded by
17
     Defendant Cunningham his Superior Court complaint, that defendants covered up
18

19   misconduct including excessive force, promoted a code of silence and conspiracy to

20   obstruct justice, hired people unfit to be officers (for improper reasons, including but not
21   limited to their connections to other City officials), extorted people for sex, and took
22   kickbacks and bribes.
23          21. Plaintiffs are informed and believe and thereon allege that official public
24
     records document that Pine resided in an apartment owned by the proprietors of a tow
25
     yard. Plaintiffs are informed and believe that the tow yard owner is Maywood Club
26
     Tow.
27
            22. Plaintiffs are informed and believe that Pine was permitted to live in the
28

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 1   apartment as a quid pro quo for Pine's assistance in causing the towing, impoundment,
 2   and sale of vehicles, for the illicit gain of Pine, the City of Maywood, the
 3   Maywood-Cudahy Police Department, Does, and others.
 4
           23. Plaintiffs are informed and believe and thereon allege that Maywood Club
 5
     Tow and/or its owners and/or Does gave money and/or things of value to defendants as
 6
     a quid pro quo for the assistance and cooperation of defendants in causing the towing,
 7
     impoundment, and sale of vehicles.
 8

 9         24. Plaintiffs are informed and believe that governing officials of the City of

10   Maywood received money and/or things of value from Maywood City Tow and/or its
11   owners, and/or Does as a quid pro quo for, among other things, starting, continuing,
12   implementing and/or protecting defendants' illicit vehicle towing scheme.
13         25. Plaintiffs are informed and believe that the Cities of Maywood and Cudahy
14
     and the Maywood-Cudahy Police Department did a land-office business with Maywood
15
     Club Tow, towing, impounding, confiscating, and selling vehicles, and reaping huge
16
     profits in doing so, and that Pine and other defendants were personally involved in this
17
     illicit, fraudulent and criminal practice, including the conduct of supposed hearings to
18

19   determine whether vehicles should be returned to their owners. The involvement of

20   defendants including Pine in the hearings made them unfair and deprived vehicle owners
21   of due process of law.
22         26. Plaintiffs are informed and believe and thereon allege that existence of graft
23   and corruption, and the knowledge of the graft and corruption, within the
24
     Maywood-Cudahy Police Department and the City of Maywood, including but not
25
     limited to the illicit, fraudulent and criminal scheme to tow, impound and sell vehicles,
26
     made it difficult and/or impossible for any supervisor to exercise meaningful
27
     supervision and/or to discipline officers who abused people and violated the law, for
28

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 1   fear that officers would blow the whistle on the corruption and nepotism including but
 2   not limited to the vehicle towing scheme, if any meaningful discipline were threatened
 3   or imposed and proximately caused, fostered and contributed to the code of silence and
 4
     conspiracy to obstruct justice within the department.
 5
           27. Plaintiffs are informed and believe that the code of silence and defendants’
 6
     conspiracy to obstruct justice, and an absence of meaningful supervision and discipline,
 7
     was each a proximate cause of defendants’ violations of Plaintiffs’ rights.
 8

 9         28.     Plaintiffs are informed and believe and thereon allege that the

10   Maywood-Cudahy Police Department does not have adequate procedures to supervise
11   and/or discipline its employees, including but not limited to the following:
12                 a.   Inadequate reporting requirements, including but not limited to
13         inadequate use-of-force reporting;
14
                   b. Inadequate procedures for documenting and investigating citizens'
15
           complaints, including but not limited to refusing to accept citizens' complaints,
16
           failing adequately to documents citizens' complaints, failing to investigate
17
           citizens' complaints, and failing to respond to court orders requiring defendants
18

19         to disclose citizens' complaints.

20         29. Failures by all the supervisor, manager and policy-making defendants to
21   provide oversight over the Maywood-Cudahy police, to make them follow the
22   requirements of the Constitution, and/or to stop officers from making false charges
23   against innocent persons and lying to support false charges, among other things, make
24
     those defendants liable to plaintiffs.
25
           30. Plaintiffs are informed and believe that all the injunctive relief prayed for in
26
     this complaint is necessary to stop the wide-scale violation of peoples' rights by
27
     defendants.
28

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   1                              Scope and Nature of Allegations
   2          31. Plaintiffs are informed and believe and thereupon alleges that officials,
   3   supervisors, policy makers and other individuals with the authority to set or modify
   4
       municipal and/or departmental policy, dejure or defacto, of Defendant City of
   5
       Maywood, participated in, approved of, ratified and/or failed to prevent the acts by
   6
       Defendants City of Maywood, Maywood-Cudahy Police Department, Bruce Leflar, Paul
   7
       Pine, Cunningham and Does 1-30, complained of by Plaintiffs.
   8

   9          32. Plaintiffs are informed and believe and thereon allege that at all times herein

  10   mentioned, each of the defendants; including officials, supervisors, watch commanders
  11   and other policy makers from Defendant City of Maywood; was the agent, employee or
  12   co-conspirator of one other, some, or all of their Co-defendants. Plaintiffs are informed
  13   believe and thereupon allege that each of the defendants, acting individually, and in
  14
       concert with each other, engaged in a common plan wrongfully to deprive Plaintiffs of
  15
       Plaintiffs’ rights to: security in Plaintiffs’ person, property and effects, freedom from
  16
       unreasonable searches and seizures, equal protection and due process of law, and of the
  17
       right to seek redress and obtain compensation for the wrongs committed against
  18

  19   Plaintiffs.

  20          33. In doing each and all of the things herein mentioned, or neglecting or
  21   intentionally failing to rectify said misconduct, each and all defendants were acting
  22   pursuant to a defacto policy and within the scope of such agency, employment and
  23   conspiracy and with full permission, knowledge, approval, ratification and support of
  24
       each other.
  25
                                               Damages
  26
              34. By reason of the aforementioned acts of defendants, and each of them,
  27
       Plaintiffs were injured in Plaintiffs’ health, strength and activity, sustained great mental
  28

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   1   pain, suffering and shock to Plaintiffs’ nervous systems, torment, anxiety, anguish,
   2   humiliation and severe emotional distress, all to Plaintiffs’ damage in an amount
   3   according to proof at trial. As a proximate result of the foregoing wrongful acts of
   4
       defendants, and each of them, property belonging to Plaintiffs were damaged and
   5
       destroyed in an amount according to proof.
   6
             35. Plaintiffs are informed and believe and thereon allege that, by reason of the
   7
       aforementioned acts of defendants and each of them, Plaintiffs were and/or will in the
   8

   9   future be required to receive hospital, medical, doctor, nursing, dental and psychological

  10   care and treatment, and by reason thereof, will incur expenses related thereto in an
  11   amount according to proof at trial.
  12         36. By reason of defendants’ wrongful acts, Plaintiffs were injured in Plaintiffs’
  13   businesses and/or property, including but not limited to being unable to work and earn
  14
       money, and Plaintiffs will in the future be injured in Plaintiffs’ business and/or property
  15
       by sustaining a loss and impairment of earnings and earning capacity, in an amount
  16
       according to proof at trial. By reason of defendants’ code of silence and conspiracy to
  17
       obstruct justice, defendants havedamaged, impaired and reduced the value of Plaintiffs’
  18

  19   property interests, including but not limited to Plaintiffs’ property interest in his right

  20   and/or causes of action to obtain redress and compensation for the wrongs committed
  21   against Plaintiffs.
  22         37. Defendants acts were done and committed by each individual defendant
  23   knowingly, deliberately and maliciously with the intent to oppress, injure and harass
  24
       Plaintiffs (with the exception of the claims by Plaintiffs based on negligence) and with
  25
       reckless indifference to Plaintiffs’ civil rights, personal security and safety, and by
  26
       reason thereof, Plaintiffs prays for punitive and exemplary damages from and against
  27
       individual defendants and each of them in an amount according to proof at trial.
  28

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   1                                 CLAIMS FOR RELIEF
   2                             FIRST CLAIM FOR RELIEF
   3
                      BY PLAINTIFFS AGAINST ALL DEFENDANTS
                     (Violation of RICO Statute - 18 U.S.C. §§ 1962(c), (d))
   4

   5         38. This cause of action is brought by Plaintiffs for treble damages for injury to
   6   his business or property including but not limited to lost employment and accrued
   7   interest resulting from the conduct alleged herein, which violates the provisions of 18
   8   U.S.C. §§ 1961-1968 (hereafter "RICO").
   9
             39. The following constitute an enterprise within the meaning of RICO generally
  10
       and 18 U.S.C. § 1961(4) specifically:
  11
                    a. The Maywood-Cudahy Police Department;
  12
                    b. The City of Maywood;
  13

  14                c. Maywood Club Towing Company;

  15                d. The Association in Fact of defendants City of Maywood, Maywood-
  16         Cudahy Police Department, Maywood Club Towing Company (“the AIF
  17         Enterprise”).
  18         40. Plaintiffs are informed and believe and thereon allege that each enterprise
  19
       alleged herein is an entity distinct from the pattern of racketeering activity alleged
  20
       herein; is or was an ongoing organization, formal or informal; and functions or
  21
       functioned as a continuing unit, to wit:
  22
                    a. The City of Maywood is a public entity with a formal structure and
  23

  24
             capacity engaging in a wide range of activities, only part of which entails the

  25         pattern of racketeeringactivity alleged in this complaint. The defendants charged

  26         with operating it under 42 U.S.C. § 1962 (c) were animated by, among other
  27         things, engaging in bribery, obstruction of justice, and fraud.
  28

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   1             b. The Maywood-Cudahy Police Department is a subdivision of the City
   2       of Maywood and City of Cudahy whose charge is enforcement of the laws of the
   3       State of California and the Cities of Maywood and Cudahy, in which capacity it
   4
           has a formal structure and engages in a wide range of activities, only part of
   5
           which entails the pattern of racketeering activity alleged in this complaint. The
   6
           defendants charged with operating it under 42 U.S.C. § 1962 (c) were animated
   7
           by, among other things, bribery, extortion, obstruction of justice, and kidnaping.
   8

   9             c. Maywood Club Towing Company is a formally organized business

  10       entity engaged in the business of towing and impounding vehicles under a variety
  11       of circumstances, only part of which entails the pattern of racketeering activity
  12       alleged in this complaint. The defendants charged with operating it under 42
  13       U.S.C. § 1962 (c) were animated by, among other things, the common purpose of
  14
           unlawfully impounding vehicles in order to collect and receive the illegal charges
  15
           resulting from the impound, and implemented the illegal scheme by mail fraud
  16
           and bribery.
  17
                 d. The AIF Enterprise had an ascertainable structure, comprised of the
  18

  19       Maywood-Cudahy Police Department, Maywood Club Towing Company, and the

  20       key individuals who directed the enterprise’s unlawful activities which included
  21       but are not limited to Pine and Does. This structure was distinct from the pattern
  22       of racketeering activity in that the enterprise’s activities encompassed both lawful
  23       and unlawful activities. The AIF Enterprise’s associates were animated by
  24
           common purposes, including but not limited to unlawfully and fraudulently
  25
           impounding vehicles to collect and receive the illegal charges resulting from the
  26
           impound and receive kickbacks, and to cover up and conceal their activities by
  27
           obstructing justice in state and federal civil and criminal proceedings by means
  28

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   1         of a code of silence. The AIF Enterprise functioned as a continuing unit with
   2         continuity in both structure and personnel.
   3         41. The activities of the enterprises affect interstate commerce in numerous ways,
   4
       including but not limited to: 1) the use of interstate mail, telephone and wires (including
   5
       transmission and dissemination of false arrests and false criminal charges); 2) the
   6
       purchase of materials for use in the enterprises which materials were in the stream of
   7
       interstate commerce; 3) the provision of federal funds to the Maywood-Cudahy Police
   8

   9   Department, received through the stream of interstate commerce; 4) oversight by federal

  10   governmental entities of various of the activities of the Maywood-Cudahy Police
  11   Department and/or the City of Maywood, involving interstate travel and the expenditure
  12   of funds through the stream of interstate commerce; 5) the interstate travel of various
  13   of the owners of impounded vehicles to retrieve their impounded vehicles or attempt to
  14
       do so; 6) the travel, paid from proceeds of the pattern of racketeering activity alleged
  15
       herein, of members of the Maywood-Cudahy Police Department from California to Las
  16
       Vegas; 7) the purchase of tow trucks, and gasoline and equipment for said trucks, used
  17
       in furtherance of the pattern of racketeering activity alleged herein that reached the
  18

  19   purchasers through the stream of interstate commerce.

  20         42. Defendants’ racketeering activities included but are not limited to the
  21   following:
  22                a. Condoning and encouraging the fabrication of evidence including but
  23         not limited to the filing of materially false police reports in tended to be used in
  24
             state and federal civil and criminal proceedings;
  25
                    b. Condoning and encouraging a "code of silence," which keeps and/or
  26
             dissuades employees from reporting the misdeeds of fellow employees, and/or
  27
             causes and/or facilitates the preparation, submission and use of false official
  28

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   1         reports, and/or making false official statements, and/or perjury; and which thereby
   2         obstructs justice in official proceedings, including but not limited to state and
   3         federal criminal investigations and proceedings, and/or state and federal civil
   4
             investigations and proceedings;
   5
                   c. Condoning and encouraging officers in the belief that their failure or
   6
             refusal to participate in the "code of silence" or to cover up or conceal the
   7
             misconduct of other officers will cause them to be ostracized by other officers,
   8

   9         will adversely affect their ability to get support from other officers in dangerous

  10         and/or life-threatening situations in the field and will adversely affect their
  11         opportunities for promotion and other employment benefits, and which thereby
  12         obstructs justice in official proceedings, including but not limited to state and
  13         federal criminal investigations and proceedings, and/or state and federal civil
  14
             investigations and proceedings;
  15
                   d. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  16
             and/or other wrongful and/or illicit compensation, which has the effect of
  17
             strengthening defendants’ code of silence and conspiracy to obstruct justice by
  18

  19         making all department employees, including but not limited to supervisors,

  20         vulnerable to accusations of misconduct and unable and/or unwilling to
  21         accurately report misconduct, and/or to supervise and/or discipline subordinates.
  22         43. Plaintiffs are informed and believe that defendants’ code of silence and
  23   conspiracy to obstruct justice is and was operative in many state and federal
  24
       proceedings, including but not limited to the following federal cases:
  25
                   a. Jose Rodriguez and Guillermo De La Torre v. City of Maywood, CV
  26
             99-9898 CBM (Ex);
  27
                   b. Ortiz v. City of Maywood, Pablo Cunningham, et.al.,CV 06-3622 DSF
  28

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   1         (FMOx);
   2                  c. Flores v. City of Maywood, Pablo Cunningham, CV 04-7565 GPS (Ex)
   3                  d. Pacheco v. City of Maywood, Pablo Cunningham, et.al., CV 06-7613
   4
             PSG (FFMx);
   5
                      e. Cruz v. City of Maywood, Paul [Pablo] Cunningham, CV 07-1999 PSG
   6
             (JCx);
   7
                      f. Sena v. City of Maywood, et.al., CV 07-1724 AHM (Jcx);
   8

   9                  g. Trujillo v. City of Maywood, et.al., CV 06-2738 PA (VBKx);

  10                  h. Gonzalez v. City of Maywood, et.al., CV 05-6953 RJK (VBKx);
  11                  i. Anderson (Estate) v. City of Maywood, et.al., CV 04-10119 RGK (Shx);
  12                  j. Densmore v. Maywood, et.al., CV 06-3535 PSG (RZx).
  13                              SECOND CAUSE OF ACTION
  14                        (Violation of Civil Rights - 42 U.S.C. § 1983)
                                 Monell and Supervisorial Liability
  15
             44. Plaintiffs are informed and believe and thereon allege that at all times herein
  16
       mentioned, above named defendants with deliberate indifference, gross negligence
  17
       and/or reckless disregard for the safety, security and constitutional and statutory rights
  18

  19   of Plaintiffs maintained, enforced, tolerated, permitted, acquiesced in, and/or applied

  20   inter alia policies and practices which included directing and controlling the unlawful
  21   acts complained of herein.
  22         45. Said defendants and each of them, acting under color of state law, have
  23   deprived Plaintiffs of rights, privileges, and immunities secured by the Constitution and
  24
       laws of the United States, in particular by the First, Fourth, Fourteenth Amendments to
  25
       the United States Constitution by inter alia maintaining, enforcing, tolerating,
  26
       permitting, acquiescing and, and/or applying the policies and practices set forth above.
  27
       As a direct and proximate result of those policies and practices, Plaintiffs sustained
  28

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   1   injury and damage as described herein.
   2         46. Plaintiffs are informed and believe and thereon allege that the supervisorial
   3   defendants ordered, authorized, acquiesced in, tolerated, or permitted other defendants
   4
       herein to engage in the unlawful and unconstitutional actions, policies, and practices set
   5
       forth above. Defendants' conduct alleged herein constitutes a pattern of illicit law
   6
       enforcement behavior, and statutory and constitutional violations based either on a
   7
       deliberate plan by defendants or on defendants' deliberate indifference, gross
   8

   9   negligence, or reckless disregard for the safety, security and constitutional and statutory

  10   rights of Plaintiffs which violations include:
  11                a. Stopping, detaining, and/or arresting people and/or entering homes,
  12         and/or searching and/or seizing property and people, without required warrants,
  13         reasonable suspicion and/or probable cause;
  14
                    b. Using unreasonable and/or excessive force;
  15
                    c. Allowing and/or encouraging employees to brutalize, hurt and/or injure
  16
             members of the public, by failing to require effective use-of-force training,
  17
             supervision, discipline and reporting, including but not limited to not requiring
  18

  19         employees to report uses of force, by permitting and/or encouraging false and/or

  20         misleading and/or incomplete reporting, and/or by failing adequately to monitor
  21         employee uses of force;
  22                d. Condoning, tolerating and/or acquiescing in officers' engaging in racist
  23         conduct and/or racially motivated attacks on minority members of the community,
  24
             and/or using racist speech when speaking with minorities and/or denigrating the
  25
             race and/or nationality of minority members of the community;
  26
                    e. Condoning, tolerating and/or acquiescing in officers' sexually abusing
  27
             members of the community, including minors;
  28

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   1             f.   Failing adequately to investigate incidents involving the use of
   2       unreasonable force and/or other misconduct;
   3             g. Conducting investigations in such a manner as to conceal misconduct,
   4
           including but not limited to using investigative techniques and procedures known
   5
           to have that effect;
   6
                 h. Condoning and encouraging the fabrication of evidence including but
   7
           not limited to the filing of materially false police reports;
   8

   9             i. Condoning and encouraging a "code of silence," which keeps and/or

  10       dissuades employees from reporting the misdeeds of fellow employees, and/or
  11       causes and/or facilitates the preparation, submission and use of false official
  12       reports, and/or making false official statements, and/or perjury; and which thereby
  13       obstructs justice in official proceedings, including but not limited to state and
  14
           federal criminal investigations and proceedings, and/or state and federal civil
  15
           investigations and proceedings;
  16
                 j. Condoning and encouraging officers in the belief that their failure or
  17
           refusal to participate in the "code of silence" or to cover up or conceal the
  18

  19       misconduct of other officers will cause them to be ostracized by other officers,

  20       will adversely affect their ability to get support from other officers in dangerous
  21       and/or life-threatening situations in the field and will adversely affect their
  22       opportunities for promotion and other employment benefits, and which thereby
  23       obstructs justice in official proceedings, including but not limited to state and
  24
           federal criminal investigations and proceedings, and/or state and federal civil
  25
           investigations and proceedings;
  26
                 k. Condoning and encouraging the acceptance of "gratuities," "kickbacks,"
  27
           and/or other wrongful and/or illicit compensation, which has the effect of making
  28

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   1         supervisors within the department vulnerable to accusations of misconduct and
   2         unable and/or unwilling to effectively supervise and/or discipline subordinates;
   3                l. Hiring individuals who are unsuited for police work, including but not
   4
             limited to hiring individuals who have been fired or disciplined by other law
   5
             enforcement agencies because they engaged in misconduct; and/or failing to
   6
             conduct appropriate and/or required background investigations.
   7
             47. Defendants and each of them, acting under color of state law, have deprived
   8

   9   Plaintiffs of rights, privileges, and immunities secured by the Constitution and laws of

  10   the United States, in particular by the First, Fourth, and Fourteenth Amendments to the
  11   United States Constitution by inter alia maintaining, enforcing, tolerating, permitting,
  12   acquiescing and, and/or applying the policies and practices set forth above. As a direct
  13   and proximate result of those policies and practices, Plaintiffs have sustained injury and
  14
       damage as described hereinafter.
  15
             48. Plaintiffs are informed and believe and thereon allege that defendant entities
  16
       and supervisorial defendants ordered, authorized, acquiesced in, tolerated, or permitted
  17
       other defendants herein to engage in the unlawful and unconstitutional actions, policies,
  18

  19   and practices set forth above. Defendants' conduct alleged herein constitutes a pattern

  20   of intimidation, illicit law enforcement behavior, and statutory and constitutional
  21   violations based either on a deliberate plan by defendants or on defendants' deliberate
  22   indifference, gross negligence, or reckless disregard for the safety, security and
  23   constitutional and statutory rights of Plaintiffs.
  24
                                   THIRD CAUSE OF ACTION
  25                       (Violation of Civil Rights - 42 U.S.C. § 1983)
                           Against All Individually Named Defendants
  26
             49. Defendants and each of them, acting under color of state law, did without
  27
       probable cause and by use of excessive force unlawfully detain, arrest, batter, search,
  28

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   1   molest and write false reports about Plaintiffs, and did do all of the above in a
   2   conspiratorial manner for the purpose of illegally obtaining criminal conviction(s)
   3   against Plaintiffs and to conceal their own wrongdoing and did also do so to intimidate
   4
       Plaintiffs’ witness(es) in said criminal prosecutions for the same improper purposes, all
   5
       of which were intended with deliberate indifference of and reckless disregard for
   6
       Plaintiffs’ constitutional rights under the First, Fourth and Fourteenth Amendments to
   7
       the United States Constitution. As a direct and proximate result of defendants' acts,
   8

   9   Plaintiffs sustained injury and damage as set forth herein.

  10                            FOURTH CAUSE OF ACTION
                                (Violation of 42 U.S.C. §1985(2))
  11                       Against All Individually Named Defendants
  12         50. Defendants, and two or more of them, in the State of California, County of
  13   Los Angeles, and City of Maywood-Cudahy, by reason of Defendants' animus against
  14
       minorities, including Plaintiffs’ Latino heritage and invidious animus, conspired
  15
       together to act and to fail and omit to act as hereinbefore alleged, for the purpose of (I)
  16
       impeding, hindering, obstructing, and defeating the due course of justice in the State of
  17
       California and County of Los Angeles, (ii) to deny Plaintiffs Plaintiffs’ right to free
  18

  19   speech, (iv) to deny equal protection of the laws to Plaintiffs and (v) to subject

  20   Plaintiffs’ persons and property to unlawful search and seizure thereby depriving
  21   Plaintiffs of immunities secured by the Constitution and the laws of the United States,
  22   including the First, Fourth and Fourteenth Amendments to the Unites States
  23   Constitution, by, inter alia, ordering, authorizing, maintaining, enforcing, tolerating,
  24
       ratifying, permitting, acquiescing in, and/or applying the policies and practices set forth
  25
       hereinabove. Defendants' conspiracy was and is motivated by animus directed against
  26
       Plaintiffs because of Plaintiffs’ race, color or national origin, and/or by the race, color,
  27
       or national origin of persons with whom they associated, and/or by other class-based,
  28

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   1   invidiously discriminatory animus directed against Plaintiffs. In furtherance of the
   2   conspiracy one or more of the defendants committed one or more of the overt acts set
   3   forth hereinabove which did in fact deprive Plaintiffs of equal rights, privileges or
   4
       immunities.
   5
             51. Defendants, and each of them, purposefully, under color of law, planned and
   6
       conspired to deny Plaintiffs equal protection of the laws in the following respects:
   7
                     a. to deny the right to be free from unreasonable search and seizure;
   8

   9                 b. to deny the right not to be deprived of life, property or liberty without

  10         due process of law;
  11                 c. to deny the right of free speech;
  12                 d. to be free from use of excessive force.
  13         52. By virtue of the foregoing, defendants, and each of them, violated 42 U.S.C.
  14
       §1985(2).
  15
             53. As a direct and proximate result of the foregoing, Plaintiffs have been
  16
       damaged as recited above and demand and isentitled to the damages recited above,
  17
       including, but not limited to, general and punitive damages (except entities) and
  18

  19   attorney's fees.

  20                               FIFTH CAUSE OF ACTION
                                  (Violation of 42 U.S.C. §1985(3))
  21                         Against All Individually Named Defendants
  22         54. By virtue of the foregoing, Defendants, and two or more of them, conspired
  23   for the purpose of:
  24
                     a. depriving Plaintiffs of (1) equal protection of the law; and (2) liberty
  25
             and property without due process of law.
  26
             55. Defendants, and each of them, did and caused to be done, an act or acts in
  27
       furtherance of the object of the conspiracy, whereby Plaintiffs were deprived of the
  28

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   1   rights and privileges as set forth above.
   2         56. As a direct and proximate result of the foregoing, Plaintiffs are entitled to and
   3   demands damages against defendants, jointly and severally, as recited in the First and
   4
       Second Causes of Action, including, but not limited to, general and punitive damages
   5
       (except entities) and attorneys fees.
   6
                                  SIXTH CAUSE OF ACTION
   7                    (California Constitution, Article I, §§ 1, 7, and 13)
                                     Against All Defendants
   8

   9         57. The conduct of each defendant in detaining, searching, arresting, and

  10   assaulting Plaintiffs and in threatening and in doing or failing to do the other wrongful
  11   acts herein alleged was done for the purpose of interfering with and attempting to
  12   interfere with Plaintiffs’ rights to freedom of expression, to be free from unreasonable
  13   invasions of their privacy and unreasonable search and seizure, and to be accorded due
  14
       process and equal protection under Article I, §§ 1, 7 and 13 of the California
  15
       Constitution.
  16
                                 SEVENTH CAUSE OF ACTION
  17                               (California Civil Code §52.1)
                                     Against All Defendants
  18

  19         58. The conduct of each defendant in detaining, searching, and assaulting

  20   Plaintiffs and in threatening and in doing or failing to do the other wrongful acts herein
  21   alleged was done for the purpose of interfering with and attempting to interfere with
  22   Plaintiffs’ rights under the First, Fourth and Fourteenth Amendments and Plaintiffs’
  23   right to freedom of expression, to be free from unreasonable invasions of his privacy and
  24
       unreasonable search and seizure and accorded due process and equal protection under
  25
       Article I, §§ 1, 7, 12, and 13 of the California Constitution, and for that reason violated
  26
       Plaintiffs’ rights under California Civil Code Section 52.1(b). Plaintiffs are informed
  27
       and believe and thereon allege that the defendants’ wrongful acts were done maliciously
  28

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   1   and criminally and for the purpose of inflicting injury on Plaintiffs.
   2         59.    As the proximate cause of defendants’ and each of their conduct as
   3   hereinbefore alleged, Plaintiffs have been damaged in an amount not presently
   4
       ascertained, but subject to proof at trial.
   5
             60. Plaintiffs are informed and believe and thereon allege that Defendants’ and
   6
       each of their conduct was malicious, willful, fraudulent and oppressive, done with a
   7
       conscious disregard for Plaintiffs’ rights and with the intent to injure Plaintiffs, thereby
   8

   9   justifying the award of exemplary damages (except for entities) in a sum to be

  10   determined according to proof.
  11                               EIGHTH CAUSE OF ACTION
                                 (California Civil Code Section 51.7)
  12                                   Against All Defendants
  13         61. Plaintiffs are informed and believe and thereon allege that the conduct of
  14
       each defendant in using force upon and injuring Plaintiffs and in threatening and
  15
       attempting to use force upon and injure Plaintiffs, and in doing or failing to do the other
  16
       wrongful acts herein alleged was motivated by defendants' invidious racial and/or ethnic
  17
       and/or other impermissible animus toward Plaintiffs, and for that reason violated
  18

  19   Plaintiffs’ rights under California Civil Code § 51.7. Plaintiffs are informed and believe

  20   and thereon allege that the defendants’ wrongful acts were done maliciously and
  21   criminally and for the purpose of inflicting injury on Plaintiffs.
  22                                NINTH CAUSE OF ACTION
                                       (Assault and Battery)
  23                                   Against all Defendants
  24
             62. At the date, time and location, defendants, and each of them, as either
  25
       employees, supervisors or employees in the course and scope of their duties
  26
       intentionally and maliciously abused Plaintiffs by reason of the acts alleged herein
  27
       above causing Plaintiffs, without provocation, necessityor lawful justification, to suffer
  28

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   1   said violations of their civil rights.
   2          63. As a proximate result of the acts of defendants, and each of them, as herein
   3   alleged, Plaintiffs were compelled to expend money all to their damage in an amount
   4
       according to proof.
   5
              64. As a proximate result of the acts of defendants, and each of them, Plaintiffs
   6
       were injured in health, strength and activity, sustaining injuries to body and shock and
   7
       injury to nervous systems and persons; all of which injuries have caused Plaintiffs to
   8

   9   suffer severe pain and mental anguish.

  10          65. As a further proximate result of the acts of defendants, and each of them,
  11   Plaintiffs were required to and/or did employ physicians and surgeons for medical
  12   examination, treatment and care of injuries, and did incur medical and incidental
  13   expenses. Plaintiffs did incur and will incur further treatment, the exact amount of
  14
       which is unknown at this time.
  15
              66. As a further proximate result of the acts of defendants, Plaintiffs were
  16
       prevented from attending to his usual occupations and thereby lost earnings and income.
  17
              67. The acts of defendants, and each of them, were willful, malicious and
  18

  19   oppressive, in conscious disregard of Plaintiffs’ known rights and thereby justify the

  20   awarding of exemplary damages (except entities) according to proof.
  21                                TENTH CAUSE OF ACTION
                             (Intentional Infliction of Emotional Distress)
  22                                    Against all Defendants
  23          68. Plaintiffs were entitled to the due care, service and protection of the entities
  24
       and their officers and medical staff.
  25
              69. On or about the dates alleged above and thereafter, Defendants caused the
  26
       Plaintiffs to be unlawfully detained, seized, beaten and/or otherwise abused without
  27
       reasonable cause or justification.
  28

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   1         70. In doing the aforementioned acts, defendants’ conduct was intentional,
   2   outrageous, malicious, and done for the specific purpose of causing Plaintiffs to suffer
   3   extreme emotional distress, indignity, fear, anxiety, and mental anguish.
   4
             71. As a direct and proximate result of the foregoing, Plaintiffs have suffered, and
   5
       continue to suffer, severe mental, emotional and physical distress and are entitled to and
   6
       demands damages against defendants.
   7
                              ELEVENTH CAUSE OF ACTION
   8                       (Negligent Employment Civil Code §1714)
   9                       Against Entities and Supervisor Defendants

  10         72. Defendant entities and supervisor defendants knew or in the exercise of due
  11   care should have known, that individually named defendants and Does 1 Through 30
  12   inclusive, and each of them, had a propensity, character trait, and practice for
  13   dishonesty, deception, abuse of authority, harassment, and violence without justification
  14
       against Plaintiffs and other members of the public.
  15
             73. At all times material herein, said Defendant entities and supervisors knew or
  16
       with reasonable care should have known, that the aforedescribed traits of character,
  17
       practices and propensities of defendants and Does 1 through 30 inclusive, and each of
  18

  19   them, made them unfit to serve as law enforcement officers.

  20         74.   Notwithstanding such knowledge, Defendant entities and supervisors
  21   negligently and carelessly employed and retained and failed to properly supervise, train
  22   and control defendants and Does 1 through 30 inclusive, and each of them, as employees
  23   and assigned said defendants to duties which enabled each of them to abuse their
  24
       authority, including but not limited to making unlawful detentions and arrests by use of
  25
       excessive force, warrantless arrests, fabricating probable cause and crimes, causing the
  26
       fraudulent and malicious criminal prosecution of innocent persons while purporting to
  27
       act under the color of law.
  28

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   1         75. As a proximate result of the negligent retention and supervision of defendant
   2   entities and supervisors and each of them, Plaintiffs suffered damages and injuries,
   3   including but not limited to false arrests/detentions, beatings, malicious prosecutions,
   4
       severe mental anguish, emotional distress, severe embarrassment, financial losses, all
   5
       to the Plaintiffs’ damage in a sum according to proof.
   6
                                   TWELFTH CAUSE OF ACTION
   7                                (Negligence/Civil Code § 1714))
                                        Against All Defendants
   8

   9         76. Plaintiffs allege that by the actions or omissions set forth above, all

  10   defendants failed to use and exercise reasonable care as is required by Civil Code §
  11   1714. In particular, defendants failed to exercise reasonable care in its conduct in the
  12   exercise of their duties.
  13         77. As a proximate result of the negligence and carelessness of defendants, and
  14
       each of them, Plaintiffs suffered damages as alleged above in a sum according to proof.
  15
                                       INJUNCTIVE RELIEF
  16
             78. Plaintiffs are informed and believe and thereon allege that, unless enjoined,
  17
       as requested in the prayer, defendants will continue to engage in the unlawful acts and
  18

  19   in the policies and practices described above, in violation of the legal and constitutional

  20   rights of the Plaintiffs. Plaintiffs face the real and immediate threat of repeated and
  21   irreparable injury and continuing, present adverse effects as a result of the unlawful
  22   misconduct, policies and practices of the defendants. Plaintiffs have no adequate and
  23   complete remedy at law.
  24
                                              PRAYER
  25
              Wherefore, Plaintiffs pray judgment against defendants and each of them, as
  26
       follows:
  27
          As to each cause of action at to each Plaintiffs as applicable:
  28

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   1         1. For general damages according to proof;
   2         2. For special damages according to proof;
   3         3. For statutory damages under Cal. Civ. Code §§ 52(a) and/or (b), 52.1(b),
   4
       California Code of Civil Procedure 1021.5, and under any other applicable statute or
   5
       theory;
   6
             4. For punitive damages against each individual Defendant;
   7
             5. For attorney's fees pursuant to 42 U.S.C. §1988, California Civil Code §52.1,
   8

   9   California Code of Civil Procedure 1021.5, and under any other applicable statute or

  10   theory;
  11         6. For costs of suit;
  12         7. Declaring, pursuant to 28 U.S.C. §§ 2201-2202 that the acts, policies, rules,
  13   regulations, practices, customs, and usages that the defendants engaged in as set forth
  14
       above violate the legal and constitutional rights of the Plaintiffs.
  15
             8. Permanently enjoining defendants and their agents, employees, and successors,
  16
       and all persons in active concert or participation with defendants, from engaging in the
  17
       unlawful and unconstitutional acts, policies, rules, regulations, practices, customs, and
  18

  19   usages set forth above.

  20         9. Placing the Maywood-Cudahy Police Department under the direct supervision
  21   and control of a receiver or special master to be appointed by the Court; directing the
  22   receiver or special master to review all existing written and unwritten policies and
  23   procedures of defendants with respect to the acts, policies, rules, regulations, practices,
  24
       customs, and usages set forth above; directing the receiver or special master to modify,
  25
       amend, or revoke, or to confirm and enforce, existing policies and procedures and to
  26
       establish such new or additional written policies and procedures as may be necessary
  27
       and proper; and directing the receiver or special master to implement and enforce
  28

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   1   appropriate written policies and procedures with respect to the following subjects,
   2   among others:
   3                  a. Ensuring compliance with constitutional standards governing the use of
   4
             firearms, the use of force, the conduct of searches, and the use of deadly force.
   5
                      b. Providing adequate training, certification, and periodic recertification
   6
             of all officers in the lawful use of force, including firearms and other deadly
   7
             force.
   8

   9                  c. Specifying departmentally approved weaponless control techniques,

  10         and providing for adequate training, certification, and periodic recertification of
  11         all officers in the use of such techniques.
  12                  d. Ensuring that members of the public injured by officers receive prompt
  13         and appropriate medical care, and that their injuries are catalogued and recorded
  14
             in police reports and by photographs of all such injuries.
  15
                      e. Requiring that all persons in custody be transported to a hospital for
  16
             examination and treatment by a medical doctor whenever:
  17
                            i.     the person sustains a head injury, strikes his or her head on a
  18

  19                               hard object, or sustains a blow to the head, regardless of how

  20                               minor any such injury may appear;
  21                        ii.    the person is choked or is subjected to any control hold
  22                               involving the neck, regardless of whether or not the person is
  23                               rendered unconscious;
  24
                            iii.   the person has any injuries that appear to require medical
  25
                                   attention;
  26
                            iv.    the person requests medical treatment, regardless of whether
  27
                                   or not the person has any apparent injuries.
  28

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   1             f. Prohibiting the use of saps in any circumstances, and prohibiting the use
   2       of head strikes and strikes to other vital areas of the body by batons or
   3       flashlights, punches or kicks, except in cases where there is legal justification for
   4
           the use of deadly force.
   5
                 g. Requiring that searches be conducted in a manner which inflicts the
   6
           least amount of damage necessary in order to conduct an adequate search; that
   7
           officers be required to photograph or videotape the premises before and after each
   8

   9       and every search; that officers return to their original location and condition all

  10       items displaced in any search; and that the Maywood-Cudahy Police Department
  11       pay for the repair or replacement of any property unnecessarily damaged or
  12       destroyed in the course of any search.
  13             h. Recording in writing each instance in which an officer is involved in the
  14
           use of force in arresting a suspect or in detaining any person, regardless of
  15
           whether an arrest is made.
  16
                 i. Requiring that any officer who participates in or witnesses any incident
  17
           involving the use of force by an officer shall prepare and submit a departmental
  18

  19       report containing detailed information regarding the incident, including:

  20                    i.     A full description of the actions of the suspect or member of
  21                           the public which made the use of force necessary;
  22                    ii.    A full description of the specific force used or observed by
  23                           the officer;
  24
                        iii.   A full description of any injuries or complaints of injuries
  25
                               sustained by the suspect or member of the public, including
  26
                               photographs or videotapes of the suspect or member of the
  27
                               public;
  28

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   1                     iv.    A full description of any medical treatment received by and
   2                            any refusal of such treatment by the suspect or member of the
   3                            public.
   4
                  j. Establishing a system that allows an immediate on-duty supervisor to
   5
           readily access a historical record of any officer who has used force in a period of
   6
           at least the last 5 years, including the identity of the officer(s) involved in the use
   7
           of force, the file number(s) of the report(s) in which the use of force is reported,
   8

   9       and a description of the nature of the force used (e.g., "intentional head strike

  10       with baton"; "accidental head strike with flashlight"); requiring periodic review
  11       of such records for patterns of unjustified use of force by officers and institution
  12       of disciplinary proceedings where appropriate; requiring review of such records
  13       whenever a supervisor prepares a departmental performance evaluation of any
  14
           officer; and requiring that performance evaluations include documentation of any
  15
           patterns concerning the unjustified use of force.
  16
                  k. Providing that, in any situation in which deadly force has been used by
  17
           an officer and death or serious injuryhas resulted, there shall be an administrative
  18

  19       review of the use of force to determine whether it was in compliance with

  20       departmental policy and constitutional standards, and whether departmental
  21       policy should be modified in view of the circumstances surrounding the use of
  22       such force.
  23              l. Requiring that, in departmental investigations of officer-involved
  24
           shootings, other use of deadly force by officers, or complaints of officer
  25
           misconduct:
  26
                         i.     all percipient witnesses (including officers) be segregated
  27
                                from each other as soon as practicable after the incident;
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   1                     ii.    such witnesses not be permitted to discuss the incident with
   2                            any other witness until after all witnesses have been
   3                            interviewed by departmental investigators;
   4
                         iii.   such witnesses not be informed of the contents or substance
   5
                                of the statements of other witnesses until after all witnesses
   6
                                have been interviewed by departmental investigators; and
   7
                         iv.    all witness interviews, including interviews of involved
   8

   9                            officers, be fully and completely tape-recorded.

  10             m. Indexing by individual officer and maintaining files of complaints by
  11       members of the public, Cal. Govt. Code § 910 claims, and lawsuits concerning
  12       officer misconduct; adequately investigating such complaints, claims, and
  13       lawsuits; and using such files to monitor the conduct of officers.
  14
                 n. Requiring psychological testing and counseling of officers with a record
  15
           of using unreasonable or excessive force, making false arrests, filing false
  16
           charges, engaging in related acts of dishonesty, or engaging in racially motivated
  17
           misconduct.
  18

  19             o. Maintaining a promotional system which penalizes officers for instances

  20       of unjustified use of firearms or unjustified use of force, violence, sexual
  21       innuendo, dishonesty, racial or ethnic bias, or other misconduct.
  22             p.   Requiring dismissal of officers involved in instances of sexual
  23       misconduct, and/or repeatedly involved in instances ofunjustified use of firearms
  24
           or unjustified use of force, violence, dishonesty, racial or ethnic bias, or other
  25
           misconduct.
  26
                 q. Requiring that, where an investigation discloses any improper use of
  27
           force by an officer, particularly improper use of force which causes serious bodily
  28

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   1       injury as defined in Cal. Penal Code § 243, that matter should be referred to the
   2       District Attorney's Office for consideration of filing a criminal complaint.
   3             r. Requiring that, whenever any officer has been judicially determined to
   4
           have engaged in a violation of constitutional or civil rights, whenever a monetary
   5
           settlement has been made or a judgment has been rendered based on the use of
   6
           excessive force by an officer, or whenever any arrest has been made as to which
   7
           an officer claims to be the victim of a crime:
   8

   9                    i.     a departmental investigation be conducted, regardless of any

  10                           earlier investigation or the findings thereof;
  11                    ii.    The investigators review all evidence introduced at trial or
  12                           provided to them by any person, and that they interview all
  13                           known witnesses including Plaintiffs’ trial experts, and
  14
                               interview Plaintiffs’ counsel in any lawsuit alleging officer
  15
                               misconduct;
  16
                        iii.   a full report be made to the Chief of Police and to the receiver
  17
                               or special master with recommendations for or against
  18

  19                           disciplinary or criminal sanctions against the officer.

  20             s. Directing that the defendants seek tangible ways (for example, through
  21       disciplinary measures) to establish the principle that racial and ethnic bias will not
  22       be tolerated within the Maywood-Cudahy Police Department, and that the
  23       defendants establish an adequate program of cultural awareness training and
  24
           periodic retraining to eliminate racial or ethnic stereotypes for all officers.
  25
                 t. Directing that the defendants seek tangible ways to establish the
  26
           principle that gender bias and discrimination and sexual misconduct will not be
  27
           tolerated within the Maywood-Cudahy Police Department, and that the
  28

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   1        defendants establish an adequate program of gender awareness training and
   2        periodic retraining to eliminate any and all gender discrimination and sexual
   3        misconduct.
   4
            10. For such other and further relief as the Court may deem proper.
   5
       DATED: May 12, 2008
   6
                             CYNTHIA ANDERSON-BARKER
   7                          ELLEN HAMMILL ELLISON
                                    OLU ORANGE
   8                               ROBERT MANN
   9                             DONALD W. COOK
                                  ATTORNEYS AT LAW
  10

  11
                          By ___________________________________
  12                                   Donald W. Cook
                                    Attorneys for Plaintiffs
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   1                           DEMAND FOR JURY TRIAL
   2        Plaintiffs hereby demand a jury trial.
   3   DATED: May 12, 2008
   4
                              CYNTHIA ANDERSON-BARKER
   5                           ELLEN HAMMILL ELLISON
                                     OLU ORANGE
   6                                ROBERT MANN
                                  DONALD W. COOK
   7                               ATTORNEYS AT LAW
   8

   9
                                By
  10                                    Donald W. Cook
                                     Attorneys for Plaintiffs
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